                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

 In re:                                            ) Chapter 11
                                                   ) Judge Charles M. Walker
 AMARILLO PLATINUM, LLC;                           )
 MIDLAND PLATINUM, LLC;                            ) Case No. 3:24-bk-02447
 MIDLAND PLATINUM II, LLC;                         ) Case No. 3:24-bk-02448
                                                   ) Case No. 3:24-bk-02449
           Debtors.                                )
                                                   ) JOINT ADMIN REQUESTED

              EXPEDITED MOTION FOR ENTRY OF ORDER
        AUTHORIZING INTERIM USE OF CASH COLLATERAL AND
 GRANTING FINAL USE OF CASH COLLATERAL ABSENT TIMELY OBJECTION

          The above-captioned debtors (the “Debtors”) in the above-captioned bankruptcy cases

respectfully submit this Expedited Motion for Entry of Order Authorizing Interim Use of Cash

Collateral and Granting Final Use of Cash Collateral Absent Timely Objection (the “Motion”)

pursuant to 11 U.S.C. § 363 and Rules 4001(b) and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) (a) seeking approval and authorization for immediate interim

use of cash collateral by each of the Debtors and (b) granting final use of cash collateral by each

of the Debtors absent a timely objection thereto. The Debtors support the Motion as follows:

                                PRELIMINARY STATEMENT

          As set forth in the Debtors’ contemporaneously filed Consolidated Company Profile (the

“Company Profile”), the Debtors are three limited service hotels operating in Midland and

Amarillo, Texas. Each are subject to deeds of trust from 2017 evidencing loans from Community

First Bank & Trust (“CFB”) ranging from $7 million to $7.5 million and secured on the hotel

properties. Following maturity, CFB sold this debt to LBC2 Trust, a debt trust managed by a firm

known as Willow River Capital Management, LLC (“Willow River”). This indebtedness is

hereinafter referred to as the “Willow River Indebtedness.” As further set forth in the Company




Case 3:24-bk-02448         Doc 6   Filed 07/02/24 Entered 07/02/24 10:42:28           Desc Main
                                   Document     Page 1 of 15
Profile, the Debtors filed these cases, in part, due to a pending foreclosure sale of the Debtors’

hotel assets by Willow River, which was set for July 2, 2024.

       From a review of the documents presently available, the Debtors take the position that the

Willow River Indebtedness is not secured by a lien on any of the Debtors’ hotel revenues. Thus,

Willow River has no lien on the Debtors’ cash collateral generated from hotel operations. It

therefore is not entitled to adequate protection as a condition of the Debtors’ ongoing cash use.

The Debtors nonetheless acknowledge that certain other creditors may hold liens on the Debtors’

cash collateral and could be entitled to adequate protection. The Debtors further acknowledge that

Willow River may dispute the Debtors’ conclusions regarding the scope and extent of the liens

securing the Willow River Indebtedness. They therefore request that this Court (a) grant interim

use of cash collateral on an emergency basis, (b) set a deadline for objections by any secured

creditor that may assert an interest in the Debtors’ cash collateral and (c) either automatically

authorize final use of cash collateral in the absence of any timely objection (as set forth below) via

self-effectuating order or set a hearing on further cash use if such timely objection is raised.

                            SUMMARY OF RELIEF REQUESTED

       1.      Expedited Relief Requested. The Debtors request that immediate interim

authorization for use of cash collateral be given pursuant to 11 U.S.C. § 363 and Bankruptcy Rule

4001(b)(2) to allow each to use its respective cash on hand and ongoing cash and credit card

receipts from hotel operations to fund its ordinary and necessary operating expenses.

       2.      Basis for Urgency. This matter must be handled on an expedited basis because the

Debtors’ business operations and reorganization efforts will suffer immediate and irreparable harm

absent interim use of cash collateral. Through this Motion, the Debtors seek authority to use cash

collateral on an interim basis through July 24, 2024 and on a final basis thereafter in the absence



                                                  2

Case 3:24-bk-02448        Doc 6    Filed 07/02/24 Entered 07/02/24 10:42:28              Desc Main
                                   Document     Page 2 of 15
of any timely objection. Continued use of hotel revenues to fund operating expenses is critical to

preserving the going concern value of the Debtors’ assets and protecting creditor recovery.

       3.      Notice. Notice of this Motion has been served by email to (1) the Office of the U.S.

Trustee, (2) Lisa C. Fancher of Fritz Byrne, PLLC (lfancher@fritzbyrne.law), counsel for Willow

River, and (3) The United States Small Business Administration (covideidlservicing@sba.gov);

(4)      CT       Corporation        Systems         (lawfirmteam1@wolterskluwer.com;          and

uccfilingreturn@wolterskluwer.com); and by U.S. Mail, postage prepaid, to the parties on the

attached service list in accordance with Fed. R. Bankr. P. 4001(b).

       4.      Suggested Hearing Date. The Debtors request that the Court set an expedited

hearing on this Motion as soon as possible to prevent irreparable harm.

                        COMPANY HISTORY AND BACKGROUND

       5.      On July 1, 2024 (the “Petition Date”), the Debtors each filed a voluntary petition

for relief under the Bankruptcy Code. The Debtors each are in possession of their respective

property and are managing their business affairs as debtors-in-possession pursuant to 11 U.S.C. §§

1107(a) and 1108. No official committee of unsecured creditors has been appointed in this case,

nor is one expected.

       6.      The Debtors filed the Company Profile contemporaneously with this Motion, which

includes a summary of the Debtors’ operations and the reasons for the filing of these cases. The

contents of the Company Profile are incorporate herein by reference.

      THE DEBTORS’ CREDITORS ASSERTING A LIEN ON CASH COLLATERAL

       7.      The Debtors recognize the requirements of 11 U.S.C. § 363 and that cash accounts

exist which may constitute “cash collateral” as that term is defined therein.

       8.      The Debtors acknowledge the existence of certain deeds of trust of record in the

relevant county encumbering the Debtors’ respective hotel assets. These include the deeds of trust
                                                 3

Case 3:24-bk-02448        Doc 6   Filed 07/02/24 Entered 07/02/24 10:42:28            Desc Main
                                  Document     Page 3 of 15
evidencing the substantial indebtedness to Willow River on the Willow River Indebtedness (the

“Willow River DOTs”). However, hotel revenues are not proceeds of real property, which means

a creditor cannot attach or perfect a security interest in hotel revenues via a deed of trust,

assignment of rents, or other security instrument attaching to real property. Instead, hotel revenues

are payment intangibles, and a creditor cannot attach or perfect a lien therein absent (a) a security

agreement specifically attaching to such intangible, and (b) a filed UCC-1 financing statement

recorded in the county in which the debtor is located describing the attached collateral. See in re

Lexington Hospitality Grp., LLC, 2017 WL 5035081, at *7-12 (Bankr. E.D. Ky. Nov. 1, 2017).1

         9.       Recognizing that a creditor cannot perfect a lien in payment intangibles absent a

recorded UCC-1 financing statement, the Debtors acknowledge that certain creditors have filed

UCC-1 financing statements with the Secretary of State for Texas and Tennessee. However, for a

creditor to perfect a lien in payment intangibles, such creditor must record a lien with the Secretary

of State of the state in which the debtor is “located.” Tenn. Code Ann. Tenn. Code Ann. § 47-9-

301(1). An entity debtor that is a registered organization under state law is located in its state of

organization. Id. at § 307(e).

         10.      Based on its review of the relevant lien documents, the Debtors believe that at least

one party may assert an interest in their cash collateral. These parties are hereinafter referred to as

the “Cash Collateral Lienholders.” The lien review of documents filed with the Texas and

Tennessee Secretary of State revealed the following for each debtor:




1
  The Lexington Hospitality case contains voluminous discussion and analysis as to why (a) hotel revenues are not
rents or other proceeds from real property, but rather are payment intangibles due from various credit card processors
to the hotel entities, (b) a creditor cannot perfect a lien in a payment intangible—and thus a hotel debtor’s post-petition
room revenues—absent a security agreement attaching a lien on such collateral and a properly filed UCC-1 financing
statement describing such collateral.

                                                            4

Case 3:24-bk-02448              Doc 6     Filed 07/02/24 Entered 07/02/24 10:42:28                         Desc Main
                                          Document     Page 4 of 15
     A. Amarillo Platinum

              (i)     On June 28, 2020, a UCC-1 financing statement, Document No. 20-
                      0028619068, was filed with the Texas Secretary of State in favor of
                      “U.S. Small Business Administration,” asserting a blanket lien on all of
                      Amarillo Platinum’s assets.

              (ii)    On April 28, 2022, A UCC-1 financing statement, Document No. 22-
                      0024890885 was filed with the Texas Secretary of State in favor of
                      “LBC2 Trust” asserting a lien on Amarillo Platinum’s goods and other
                      tangible assets. This UCC-1 financing statement does not perfect a lien
                      on Amarillo Platinum’s cash collateral in favor of LBC2 Trust.

              (iii)   On December 1, 2022, a UCC-1 financing statement, Document No. 22-
                      0058122163, was filed with the Texas Secretary of State in favor of “CT
                      Corporation, as representative,” asserting a blanket lien on all of
                      Amarillo Platinum’s assets (among other debtors). An identical UCC-1
                      financing statement, Document No. 437680840, was filed on December
                      2, 2022 with the Tennessee Secretary of State. The Debtors are unaware
                      of the true identity of such creditor or the basis for such creditor’s claim.

     B. Midland Platinum

              (i)     On June 28, 2020, a UCC-1 financing statement, Document No. 20-
                      0029286069, was filed with the Texas Secretary of State in favor of
                      “U.S. Small Business Administration,” asserting a blanket lien on all of
                      Midland Platinum’s assets.

              (ii)    On April 28, 2022, A UCC-1 financing statement, Document No. 22-
                      0024890885 was filed with the Texas Secretary of State in favor of
                      “LBC2 Trust” asserting a blanket lien on Midland Platinum’s assets.

              (iii)   On December 1, 2022, a UCC-1 financing statement, Document No. 22-
                      0058122163, was filed with the Texas Secretary of State in favor of “CT
                      Corporation, as representative,” asserting a blanket lien on all of
                      Midland Platinum’s assets (among other debtors). An identical UCC-1
                      financing statement, Document No. 437680840, was filed on December
                      2, 2022 with the Tennessee Secretary of State. The Debtors are unaware
                      of the true identity of such creditor or the basis for such creditor’s claim.

              (iv)    On January 10, 2023, a UCC-1 financing statement, Document No. 23-
                      0001448981, was filed with the Texas Secretary of State in favor of “CT
                      Corporation, as representative,” asserting a blanket lien on all of
                      Midland Platinum’s assets. The Debtors are unaware of the true identity

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Case 3:24-bk-02448    Doc 6   Filed 07/02/24 Entered 07/02/24 10:42:28                Desc Main
                              Document     Page 5 of 15
                      of such creditor or the basis for such creditor’s claim.

              (v)     On January 23, 2023, a UCC-1 financing statement, Document No. 23-
                      0003110717, was filed with the Texas Secretary of State in favor of “CT
                      Corporation, as representative,” asserting a lien on certain specific
                      equipment owned by Midland Platinum. The Debtors are unaware of the
                      true identity of such creditor or the basis for such creditor’s claim, but
                      based on this UCC-1 financing statement, such creditor does not have a
                      lien on any of Midland Platinum’s cash collateral.

     C. Midland Platinum II

              (i)     On June 28, 2020, a UCC-1 financing statement, Document No. 20-
                      0025064009, was filed with the Texas Secretary of State in favor of
                      “U.S. Small Business Administration,” asserting a blanket lien on all of
                      Midland Platinum II’s assets.

              (ii)    On April 28, 2022, A UCC-1 financing statement, Document No. 22-
                      0024888347 was filed with the Texas Secretary of State in favor of
                      “LBC2 Trust” asserting a blanket lien on Midland Platinum II’s goods
                      and other tangible assets.

              (iii)   On September 28, 2022, a UCC-1 financing statement, Document No.
                      22-0047765104, was filed with the Texas Secretary of State in favor of
                      “CT Corporation, as representative,” asserting a lien on certain specific
                      equipment owned by Midland Platinum II. The Debtors are unaware of
                      the true identity of such creditor or the basis for such creditor’s claim,
                      but based on this UCC-1 financing statement, such creditor does not
                      have a lien on any of Midland Platinum II’s cash collateral.

              (iv)    On December 1, 2022, a UCC-1 financing statement, Document No. 22-
                      0058122163, was filed with the Texas Secretary of State in favor of “CT
                      Corporation, as representative,” asserting a blanket lien on all of
                      Midland Platinum II’s assets (among other debtors). An identical UCC-
                      1 financing statement, Document No. 437680840, was filed on
                      December 2, 2022 with the Tennessee Secretary of State. The Debtors
                      are unaware of the true identity of such creditor or the basis for such
                      creditor’s claim.

              (v)     On January 10, 2023, a UCC-1 financing statement, Document No. 23-
                      0001449013, was filed with the Texas Secretary of State in favor of “CT
                      Corporation, as representative,” asserting a blanket lien on all of
                      Midland Platinum II’s assets. The Debtors are unaware of the true
                      identity of such creditor or the basis for such creditor’s claim.

     11.   The Debtors dispute that any Cash Collateral Lienholder holds an enforceable lien

                                            6

Case 3:24-bk-02448    Doc 6   Filed 07/02/24 Entered 07/02/24 10:42:28             Desc Main
                              Document     Page 6 of 15
on any hotel revenue of Amarillo Platinum. First, there is no UCC-1 financing statement recorded

with the Secretary of State’s office in Tennessee—the state in which Amarillo Platinum is

located—other than the disputed lien allegedly held by CT Corporation, as representative for an

unknown creditor securing an unknown obligation in an unknown amount against the assets of 14

separate debtors. Neither the SBA nor Willow River (or its predecessor) recorded any UCC-1

financing statement perfecting a lien in Amarillo Platinum’s payment intangibles in the proper

office. Moreover, even if the Secretary of State’s office in Texas were a proper site for recording

a UCC-1 financing statement, Willow River did not specifically identify payment intangibles as

its collateral. Its UCC-1 financing statement identifies only tangible goods.

       12.     The Debtors similarly dispute that any Cash Collateral Lienholder holds a lien on

any hotel revenue of Midland Platinum or Midland Platinum II other than the United States Small

Business Administration (the “SBA”) and the disputed lien allegedly held by CT Corporation, as

representative. Though Willow River recorded a UCC-1 financing statement allegedly

encumbering the payment intangibles of Midland Platinum and Midland Platinum II, Willow River

does not have a valid security interest in either such Debtors’ cash collateral. This is because no

instrument attaches such a security interest. The Debtors’ representatives will testify that, to their

knowledge, no security agreement exists to collateralize the Willow River Indebtedness other than

the Willow River DOTs. These instruments do not attach any security interest in any collateral

other than the hotel real estate and any fixtures thereto. Thus, Willow River has no lien on any

post-petition hotel revenues generated by Midland Platinum or Midland Platinum II.

       13.     Notwithstanding the foregoing, the Debtors acknowledge that the SBA and CT

Corporation, as representative, may hold an enforceable lien against the Debtors’ cash collateral

and may be entitled to adequate protection. The Debtors reserve the right to challenge the



                                                  7

Case 3:24-bk-02448        Doc 6    Filed 07/02/24 Entered 07/02/24 10:42:28              Desc Main
                                   Document     Page 7 of 15
validity or extent of any such liens throughout the pendency of the bankruptcy cases.

        14.      To continue operations during this case, as is necessary to maximize the value of

the Debtors’ assets and preserve the ability to effectively reorganize, the Debtor must continue to

use hotel revenues, as well as any revenues generated from non-hotel occupancy sources.

        15.      Permitting the Debtors to use ongoing hotel revenue, which may constitute cash

collateral, will allow the Debtors to (a) avoid disruption of workforce; (b) maintain market

presence; (c) maintain continuity of services for customers; and (d) preserve the going concern

value of the Debtors’ estate while preparing a plan of reorganization and determining efficiencies

to increase revenue and reduce expenses.

        16.      The Debtors propose to adequately protect the Cash Collateral Lienholders through

replacement liens on future hotel revenues—including food, beverage, and other revenue not

directly associated with hotel room occupancy—as set forth in the budget attached hereto (the

“Budgets”)2 and in accordance with 11 U.S.C. § 361(2) to the same extent as their prepetition lien

under non-bankruptcy law.

        17.      The Debtors request that the Court determine that the Cash Collateral Lienholders

are adequately protected through the consideration proposed by the Debtors here without the need

for any final hearing; provided that this Order shall be without prejudice to any Cash Collateral



2
  The Budgets were prepared by Manoj Patel, the Owner and Director of Operations of National Hospitality Consulting
Group (“NHCG”). Contemporaneously with this Motion, the Debtors have filed an application to employ NHCG and
Mr. Patel as the Debtors’ independent restructuring and business advisory firm. Though NHCG believes the Budgets
are accurate, they are provided here as an illustration of the Debtors’ immediate cash needs based on information
reasonably available to NHCG. For the reasons set forth in the Motion, including that the Willow River Indebtedness
is not secured by hotel revenues, the Debtors contend that use of cash collateral should not be conditioned upon
compliance with the Budgets. The Debtors will report their cash use through required monthly operating reports. To
the extent the Court finds otherwise, the Debtors would request reasonable protections be determined at the hearing
on this Motion, including but not limited to appropriate bottom line variances from the budgeted revenues and
expenses and (b) rolling budgeted but unspent expenses to subsequent periods with variance determinations on a
monthly basis consistent with operating reports. The Debtors reserve the right to supplement, modify, update, or
replace the Budgets upon the employment of other management professionals that may perform their own cash flow
forecast, including but not limited to Banyan Tree Management, LLC d/b/a Aperture Hotels (“Aperture”).

                                                        8

Case 3:24-bk-02448           Doc 6     Filed 07/02/24 Entered 07/02/24 10:42:28                     Desc Main
                                       Document     Page 8 of 15
Lienholder’s right to object to the relief requested herein on or before July 19, 2024. Upon entry

of such order in the absence of a timely objection, and upon the Debtors’ provision of the adequate

protection set forth herein, the Debtors request unrestricted use of their respective cash and future

hotel revenues. In the event of a timely objection, the Debtors request a hearing on continued cash

use to be set for July 24, 2024.

                                      BASIS FOR RELIEF

       18.     Bankruptcy Rule 4001(b) permits a court to approve a request for use of cash

collateral during the 14-day period following the filing of a motion requesting authorization to use

cash collateral, “only … as is necessary to avoid immediate and irreparable harm to the estate

pending a final hearing.” Fed. R. Bankr. P. 4001(b)(2). In examining requests for interim relief

under this rule, courts apply the same business judgment standard applicable to other business

decisions. See e.g. In re Simasko Prod. Co., 47 B.R. 444, 449 (D. Colo. 1985); see also In re Ames

Dep’t Stores, Inc., 115 B.R. 34, 38 (Bankr. S.D.N.Y. 1990).

       19.     As previously noted, to continue to operate their businesses and maintain going

concern value, the Debtors require the use of ongoing hotel revenue, which may constitute cash

collateral. Such use will provide the Debtors with the necessary funds to fully honor all ongoing

obligations to employees, vendors and customers and allow the Debtors to proceed toward

proposal of a confirmable plan of reorganization.

       20.     Absent access to the cash collateral, the Debtors would face immediate and

irreparable harm that would effect every single stakeholder in this case. Employees would not be

paid. Guests would not have available lodging, which would harm the guests themselves and the

franchise partners whose intellectual property the Debtors are licensing. The hotels would be

liquidated, resulting in a deeply discounted recovery to secured creditors and no recovery to

unsecured creditors. Thus, immediate and ongoing access to cash collateral is essential to the
                                                 9

Case 3:24-bk-02448        Doc 6    Filed 07/02/24 Entered 07/02/24 10:42:28             Desc Main
                                   Document     Page 9 of 15
Debtors’ continued viability, preservation of going concern value, and ability to successfully

reorganize.

        21.     Section 363(c)(2) of the Bankruptcy Code provides that a debtor in possession may

not use cash collateral unless (i) each entity that has an interest in such cash collateral consents, or

(ii) the court approves the use of cash collateral after notice and a hearing. 11 U.S.C. § 363(c).

        22.     Section 363(e) of the Bankruptcy Code provides that, “on request of an entity that

has an interest in property used … or proposed to be used … by the [debtor in possession], the

court … shall prohibit or condition such use ... as is necessary to provide adequate protection of

such interest.” 11 U.S.C. § 363(e). Courts typically authorize a debtor to utilize cash collateral to

continue operations so long as the interests asserted by affected creditors in such collateral, which

equal the value of the collateral rather than of the debt, are adequately protected …” U.S. Ass’n of

Tex. v. Timbers of Inwood Forest Assocs., Ltd., 484 U.S. 365 (1988) (interest in property

referenced in § 363(e) refers to the value of the collateral as opposed to the value of the loan).

What constitutes adequate protection must be decided on a case-by-case basis.

        23.     Section 361 of the Bankruptcy Code authorizes a debtor to provide adequate

protection by granting replacement liens, making periodic cash payments, or granting such other

relief “as will result in the realization by such entity of the indubitable equivalent of such entity’s

interest in such property.” 11 U.S.C. § 361. A finding of adequate protection is “left to case-by-

case interpretation and development. It is expected that the courts will apply the concept [of

adequate protection] in light of the facts of each case and general equitable principles. H.R. Rep.

No. 595, 95th Cong., 1st Sess. 339 (1977).

        24.     The adequate protection provided for in this Motion—replacement liens in hotel

revenues, including non-room revenues—is sufficient to adequately protect the Cash Collateral



                                                  10

Case 3:24-bk-02448         Doc 6    Filed 07/02/24 Entered 07/02/24 10:42:28               Desc Main
                                   Document      Page 10 of 15
Lienholders’ interest in their collateral used by the Debtors, to the extent any Cash Collateral

Lienholder has a valid lien therein. As demonstrated by the Budgets, the proposed adequate

protection is fair and reasonable and compensates the Cash Collateral Lienholder for any possible

diminution in value of the assets securing the lien(s) referenced herein. Given the significant value

that the Debtors stand to lose if access to the continued use of cash collateral is denied, such

protections are appropriate. Without the use of cash collateral, the business operations will cease,

and the Debtors’ estate and creditors thereof will be irreparably damaged.

       25.     To preserve going concern value and avoid immediate and irreparable harm to the

Debtors’ respective estates, it is imperative that the Debtors be authorized to use cash collateral to

continue their operations and to allow the Debtors to administer their cases. Accordingly, the

Debtors respectfully requests that the Court grant each Debtor (a) immediate interim use of cash

collateral through July 26, 2024 and (b) final use of cash collateral in the event no Cash Collateral

Lienholder objects to the relief requested herein on or before July 19, 2024. In the event any Cash

Collateral Lienholder timely objects to final use of cash collateral, the Debtors request a hearing

to be set on July 24, 2024 at 11:00 a.m.

                             WAIVER OF BANKRUPTCY RULES

       26.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtor has established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

       WHEREFORE, the Debtors respectfully request that the Court grant the relief requested

herein and provide such other relief as the Court deems appropriate under the circumstances.




                                                 11

Case 3:24-bk-02448        Doc 6    Filed 07/02/24 Entered 07/02/24 10:42:28              Desc Main
                                  Document      Page 11 of 15
                                                    Respectfully submitted,

                                                    /s/ Henry E. (“Ned”) Hildebrand, IV
                                                    Henry E. (“Ned”) Hildebrand, IV
                                                    Gray Waldron
                                                    R. Alex Payne
                                                    DUNHAM HILDEBRAND PAYNE WALDRON, PLLC
                                                    9020 Overlook Boulevard, Suite 316
                                                    Brentwood, TN 37027
                                                    615.933.5851
                                                    ned@dhashville.com
                                                    Counsel for the Debtors



                                   CERTIFICATE OF SERVICE

          On July 2, 2024, this document was electronically served on all parties consenting to the
Court’s CM/ECF system and served via regular mail on (i) Debtors’ 20 largest unsecured creditors;
(ii) all of Debtors’ secured creditors; (iii) the Office of the United States Trustee; and (iv) all other
parties who have filed a request for written notice.

                                                   /s/ Henry E. (“Ned”) Hildebrand, IV
                                                  Henry E. (“Ned”) Hildebrand, IV




                                                   12

Case 3:24-bk-02448         Doc 6    Filed 07/02/24 Entered 07/02/24 10:42:28                Desc Main
                                   Document      Page 12 of 15
Platinum Owner's Operating Budget
                                                                                                         July Weekly                                           August Weekly

                                                                                  Week 1           Week 2           Week 3            Week 4             Week 1           Week 2

                                                                                    $                $                 $                $                  $                   $
Armarillo Platinum
Summary
 Rooms Available to sell                                                                   791              791               791           791                   791                 791
 Rooms Sold                                                                                738              738               738           738                   643                 643
 Occupancy %                                                                            93.41%           93.41%            93.41%        93.41%                81.38%              81.38%
 ADR                                                                          $         120.46 $         120.46 $          120.46 $      120.46      $         119.80 $            119.80
 RevPar                                                                       $         112.52 $         112.52 $          112.52 $      112.52      $          97.49 $             97.49

Operating Revenue
Rooms Revenue                                              93.90%            $          96,333 $         96,333 $          96,333 $      96,333      $         77,070 $            77,070
F & B Revenue                                               4.00%            $           3,853 $          3,853 $           3,853 $       3,853      $          3,083 $             3,083
Other Operated Departments                                     2%            $           1,734 $          1,734 $           1,734 $       1,734      $          1,387 $             1,387
Miscellaneous Income                                        0.30%            $             289 $            289 $             289 $         289      $            231 $               231
 Total Operating Revenue                                  100.00%            $       102,209 $        102,209 $        102,209 $        102,209      $         81,771 $            81,771

Departmental Expenses
Rooms Expenses                                                25%             $         25,450 $         25,450 $          25,450 $      25,450      $         20,361 $            20,361
F & B Expenses                                              2.00%             $          2,044 $          2,044 $           2,044 $       2,044      $          1,635 $             1,635
Other Operated Depts. Expenses                              0.9%             $             920 $            920 $            920 $           920     $            736 $               736
Miscellaneous Expenses                                        0%             $               0 $              0 $              0 $             0     $              0 $                 0
 Total Departmental Expenses                                27.8%            $          28,414 $         28,414 $          28,414 $      28,414      $         22,732 $            22,732 #####

 Total Departmental Profit                                 72.20%            $          73,795 $         73,795 $          73,795 $      73,795      $         59,039 $            59,039 #####

Undistributed Operating Expenses
Administrative & General                                    6.20%             $          6,337 $          6,337 $           6,337 $         6,337    $          5,070 $             5,070
Information & Telecommunications Systems                    1.50%             $          1,533 $          1,533 $           1,533 $         1,533    $          1,227 $             1,227
Sales & Marketing                                           2.00%             $          2,044 $          2,044 $           2,044 $         2,044    $          1,635 $             1,635
Franchise and Royalties                                     8.50%             $          8,688 $          8,688 $           8,688 $         8,688    $          6,951 $             6,951
Property Operations & Maintenance                           5.40%             $          5,519 $          5,519 $           5,519 $         5,519    $          4,416 $             4,416
Utilities                                                   3.30%             $          3,373 $          3,373 $           3,373 $         3,373    $          2,698 $             2,698
 Total Undistributed Operating Expenses                    26.90%            $          27,494 $         27,494 $          27,494 $      27,494      $         21,996 $            21,996

Gross Operating Profit                                     45.30%            $          46,301 $         46,301 $          46,301 $      46,301      $         37,042 $            37,042 #####

Management Fees                                               5%             $           5,110 $          5,110 $           5,110 $         5,110    $          4,089 $             4,089

Income Before Non-Oper. Expenses                           40.30%            $          41,190 $         41,190 $          41,190 $      41,190      $         32,954 $            32,954 #####

Non-Operating Income & Expense
Property & Other Taxes                                      4.90%            $           5,008 $          5,008 $           5,008 $         5,008    $          4,007 $             4,007
Insurance                                                   1.10%            $           1,124 $          1,124 $           1,124 $         1,124    $            899 $               899
Other Non Operating Expenses (Atty and Consulting Fees)       0%             $               0 $              0 $               0 $             0    $              0 $            20,000
Cap X Reserve                                                 4%             $           4,088 $          4,088 $           4,088 $         4,088    $          3,271 $             3,271
Total Non-Operating Income & Expense                       10.00%            $          10,221 $         10,221 $          10,221 $      10,221      $          8,177 $            28,177 #####

EBITDA                                                     30.30%            $          30,969 $         30,969 $          30,969 $      30,969      $         24,777 $             4,777 #####




                                  Case 3:24-bk-02448            Doc 6    Filed 07/02/24 Entered 07/02/24 10:42:28                                   Desc Main
                                                                        Document      Page 13 of 15
Platinum Owner's Operating Budget
                                                                                                          July Weekly                                           August Weekly

                                                                                  Week 1           Week 2           Week 3             Week 4             Week 1           Week 2

                                                                                    $                $                  $                $                  $                   $
Midland Platinum- Hampton Inn
Summary
 Rooms Available to sell                                                                   612              612                612              612                612                 612
 Rooms Sold                                                                                248              248                248              248                304                 304
 Occupancy %                                                                            41.85%           41.85%             41.85%           41.85%             51.30%              51.30%
 ADR                                                                          $         135.58 $         135.58 $           135.58 $         135.58   $         144.47 $            144.47
 RevPar                                                                       $          56.74 $          56.74 $            56.74 $          56.74   $          74.11 $             74.11


Operating Revenue
Rooms Revenue                                              97.25%             $         33,581 $         33,581 $           33,581 $         33,581   $         43,863 $            43,863
F & B Revenue                                               0.00%             $              0 $              0 $                0 $              0   $              0 $                 0
Other Operated Departments                                     1%             $            252 $            252 $              252 $            252   $            329 $               329
Miscellaneous Income                                        2.00%             $            672 $            672 $              672 $            672   $            877 $               877
 Total Operating Revenue                                  100.00%             $         34,505 $         34,505 $           34,505 $         34,505   $         45,069 $            45,069

Departmental Expenses
Rooms Expenses                                                26%             $          8,971 $          8,971 $            8,971 $          8,971   $         11,718 $            11,718
F & B Expenses                                              0.80%             $            276 $            276 $              276 $            276   $            361 $               361
Other Operated Depts. Expenses                              0.6%              $            207 $            207 $             207 $             207   $            270 $              270
Miscellaneous Expenses                                        0%              $              0 $              0 $               0 $               0   $              0 $                0
 Total Departmental Expenses                                27.4%             $          9,454 $          9,454 $            9,454 $          9,454   $         12,349 $            12,349

 Total Departmental Profit                                 72.60%             $         25,050 $         25,050 $           25,050 $         25,050   $         32,720 $            32,720

Undistributed Operating Expenses
Administrative & General                                   19.16%             $          6,611 $          6,611 $            6,611 $          6,611   $          8,635 $             8,635
Information & Telecommunications Systems                    3.14%             $          1,083 $          1,083 $            1,083 $          1,083   $          1,415 $             1,415
Sales & Marketing                                           2.49%             $            859 $            859 $              859 $            859   $          1,122 $             1,122
Franchise and Royalties                                     9.57%             $          3,302 $          3,302 $            3,302 $          3,302   $          4,313 $             4,313
Property Operations & Maintenance                           5.74%             $          6,148 $          6,148 $            6,148 $          6,148   $          6,754 $             6,754
Utilities                                                   4.02%             $          1,387 $          1,387 $            1,387 $          1,387   $          1,812 $             1,812
 Total Undistributed Operating Expenses                    44.12%             $         19,390 $         19,390 $           19,390 $         19,390   $         24,052 $            24,052

Gross Operating Profit                                     28.48%             $          5,660 $          5,660 $            5,660 $          5,660   $          8,669 $             8,669

Management Fees                                               5%              $          1,725 $          1,725 $            1,725 $          1,725   $          2,253 $             2,253

Income Before Non-Oper. Expenses                           23.48%             $          3,935 $          3,935 $            3,935 $          3,935   $          6,415 $             6,415

Non-Operating Income & Expense
Property & Other Taxes                                      2.25%             $            776 $            776 $              776 $            776   $          1,014 $             1,014
Insurance                                                   1.84%             $            635 $            635 $              635 $            635   $            829 $               829
Other Non Operating Expenses( Atty and Consulting Fees)       0%              $              0 $              0 $                0 $              0   $              0 $            20,000
Cap X Reserve                                                 4%              $          1,380 $          1,380 $            1,380 $          1,380   $          1,803 $             1,803
Total Non-Operating Income & Expense                        8.09%             $          2,791 $          2,791 $            2,791 $          2,791   $          3,646 $            23,646

EBITDA                                                     15.39%             $          1,143 $          1,143 $            1,143 $          1,143   $          2,769 $        (17,231)




                                  Case 3:24-bk-02448                Doc 6    Filed 07/02/24 Entered 07/02/24 10:42:28                                              Desc Main
                                                                            Document      Page 14 of 15
Platinum Owner's Operating Budget
                                                                                               July Weekly                                           August Weekly

                                                                       Week 1           Week 2           Week 3             Week 4             Week 1           Week 2

                                                                         $                $                  $                $                  $                   $
Courtyard -Midland II Platinum
Summary
 Rooms Available to sell                                                        752              752                752              752                752                 752
 Rooms Sold                                                                     419              419                419              419                474                 474
 Occupancy %                                                                 55.75%           55.75%             55.75%           55.75%             63.10%              63.10%
 ADR                                                               $         146.17 $         146.17 $           146.17 $         146.17   $         168.36 $            168.36
 RevPar                                                            $          81.48 $          81.48 $            81.48 $          81.48   $         106.23 $            106.23

Operating Revenue
Rooms Revenue                                         93.20%       $         61,256 $         61,256 $           61,256 $         61,256   $         79,858 $            79,858
F & B Revenue                                          5.30%       $          3,247 $          3,247 $            3,247 $          3,247   $          4,232 $             4,232
Other Operated Departments                             0.65%       $            398 $            398 $              398 $            398   $            519 $               519
Miscellaneous Income                                   0.85%       $            521 $            521 $              521 $            521   $            679 $               679
 Total Operating Revenue                             100.00%       $         65,421 $         65,421 $           65,421 $         65,421   $         85,289 $            85,289

Departmental Expenses
Rooms Expenses                                           23%       $         15,047 $         15,047 $           15,047 $         15,047   $         19,616 $            19,616
F & B Expenses                                         2.00%       $          1,308 $          1,308 $            1,308 $          1,308   $          1,706 $             1,706
Other Operated Depts. Expenses                         0.9%        $            589 $            589 $             589 $             589   $            768 $              768
Miscellaneous Expenses                                   0%        $              0 $              0 $               0 $               0   $              0 $                0
 Total Departmental Expenses                           25.9%       $         16,944 $         16,944 $           16,944 $         16,944   $         22,090 $            22,090

 Total Departmental Profit                            74.10%       $         48,477 $         48,477 $           48,477 $         48,477   $         63,199 $            63,199

Undistributed Operating Expenses
Administrative & General                               7.10%       $          4,645 $          4,645 $            4,645 $          4,645   $          6,056 $             6,056
Information & Telecommunications Systems               1.20%       $            785 $            785 $              785 $            785   $          1,023 $             1,023
Sales & Marketing                                      2.50%       $          1,636 $          1,636 $            1,636 $          1,636   $          2,132 $             2,132
Franchise and Royalties                                9.25%       $          6,051 $          6,051 $            6,051 $          6,051   $          7,889 $             7,889
Property Operations & Maintenance                      4.80%       $          5,973 $          5,973 $            5,973 $          5,973   $          6,927 $             6,927
Utilities                                              3.60%       $          2,355 $          2,355 $            2,355 $          2,355   $          3,070 $             3,070
 Total Undistributed Operating Expenses               28.45%       $         21,445 $         21,445 $           21,445 $         21,445   $         27,098 $            27,098

Gross Operating Profit                                45.65%       $         27,032 $         27,032 $           27,032 $         27,032   $         36,101 $            36,101

Management Fees                                          5%        $          3,271 $          3,271 $            3,271 $          3,271   $          4,264 $             4,264

Income Before Non-Oper. Expenses                      40.65%       $         23,761 $         23,761 $           23,761 $         23,761   $         31,837 $            31,837

Non-Operating Income & Expense
Property & Other Taxes                                 2.00%       $          1,308 $          1,308 $            1,308 $          1,308   $          1,706 $             1,706
Insurance                                              1.90%       $          1,243 $          1,243 $            1,243 $          1,243   $          1,620 $             1,620
Other Non Operating Expenses (Atty and Consulting)       0%        $              0 $              0 $                0 $              0   $              0 $            20,000
Cap X Reserve                                            4%        $          2,617 $          2,617 $            2,617 $          2,617   $          3,412 $             3,412
Total Non-Operating Income & Expense                   7.90%       $          5,168 $          5,168 $            5,168 $          5,168   $          6,738 $            26,738

EBITDA                                                32.75%       $         18,592 $         18,592 $           18,592 $         18,592   $         25,099 $             5,099




                                 Case 3:24-bk-02448        Doc 6    Filed 07/02/24 Entered 07/02/24 10:42:28                                               Desc Main
                                                                   Document      Page 15 of 15
